                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                Civil Action No.: 5:19-cv-0476-FL

                                                     )
 EPIC GAMES, INC.,                                   )
                                                     )
                 Plaintiff,                          )
                                                          CONSENT MOTION FOR ENTRY OF
                                                     )
                                                         FINAL JUDGMENT AND PERMANENT
 v.                                                  )
                                                             INJUNCTION ON CONSENT
                                                     )
 RONALD SYKES,                                       )
                                                     )
                 Defendant.                          )
                                                     )

       Plaintiff Epic Games, Inc. (“Plaintiff”) with the consent of Defendant Ronald Sykes

(“Defendant”) through his counsel, move this Court to enter the Final Judgment Permanent

Injunction on Consent attached hereto as Exhibit 1. Plaintiff and Defendant have reached a

settlement of this matter and respectfully request the Court enter the Final Judgment Permanent

Injunction on Consent as agreed-to by the parties.


       Respectfully submitted, this 10th day of December, 2019.


                                             /s/Christopher M. Thomas
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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing JOINT MOTION FOR ENTRY OF

FINAL     JUDGMENT            AND   PERMANENT         INJUNCTION        ON    CONSENT        was

electronically filed, via the CM/ECF system, on this day, December 10, 2019, with the Clerk of

Court and that a true and accurate copy of it was sent to Defendant, through his attorney, Thomas

Kreger, by depositing the original and/or copy hereof, postage pre-paid, in the United States

mail, addressed as follows:

                      Ronald Sykes
                      c/o Thomas Kreger
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                                                   /s/Christopher M. Thomas
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